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PUBLIC                                                AI Index: MDE 13/046/2001

UA 298/01          Disappearance /Possible Extra Judicial      27 November 2001
                   Execution

IRAN               Siamak Pourzand, (m) aged 70, intellectual and manager of
                   Majmue-ye Farhangi-ye Honari-ye Tehran (The Tehran Cultural
                   Centre)

Siamak Pourzand, manager of Majmue-ye Farhangi-ye Honari-ye Tehran (The Tehran
Cultural Centre), disappeared in Tehran on Saturday, 24 November, at around
9 o clock in the evening. He left his sister s apartment in Abbas Abad, central
Tehran, taking his medicine, shoes and keys. He has not been heard from since.

Siamak Pourzand had reportedly stated to friends and family that he had been
followed by motorcycles and one or two cars in the two weeks before he
disappeared. His disappearance may be connected to the fact he runs Majmue-ye
Farhangi-ye Honari-ye Tehran (The Tehran Cultural Centre), which has provided
facilities for artists, writers and other intellectuals, including well-known
women s rights activists, for performance and to discuss their work.

He is 70 years old and he in a poor physical condition. The judiciary, Ministry
of Intelligence and police have not, as far as Amnesty International is aware,
announced his arrest.

BACKGROUND INFORMATION

Siamak Pourzand is the husband of human rights lawyer, Mehrangiz Kar, who
continues to face charges in connection with her participation at a social
and cultural conference which was held in Berlin in April 2000. She is a former
prisoner of conscience (see UA 103/00, MDE 13/20/00 3 May 2000 and follow
ups)

In November and December 1998, four writers and two political activists were
murdered, three following similar disappearances (see News Service 244/98,
AI Index MDE 13/25/98). Writer Mohammad Mokhtari was missing for six days before
his body was found and translator and journalist Majid Sharif was missing for
four days before his body was found. Political activists Dariush Foruhar and
his wife Parvaneh Eskandari were found stabbed to death in their Tehran apartment
in November 1998. No one has been successfully convicted in connection with
the murders.

RECOMMENDED ACTION: Please send appeals to arrive as quickly as possible, in
English, French or your own language:
- urging the authorities to conduct an urgent investigation into the
disappearance of Siamak Pourzand;
- urging the judiciary or Ministry of Intelligence to clarify whether either
body authorized the arrest of Siamak Pourzand;
- urging the authorities to make public the findings of any investigation into
the disappearance of Siamak Pourzand.

APPEALS TO:
Leader of the Islamic Republic
His E cellenc A atollah Sa ed Ali Khamenei,
The Presidency, Palestine Avenue,
Azerbaijan Intersection, Tehran, Islamic Republic of Iran
Telegrams: Ayatollah Khamenei, Tehran, Iran
Salutation: Your Excellency

President
His Excellency Hojjatoleslam val Moslemin Sayed Mohammad Khatami
The Presidency, Palestine Avenue
Azerbaijan Intersection, Tehran, Islamic Republic of Iran
Telegrams: President Khatami, Tehran, Iran
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E-mail:     khatami@president.ir
Salutation: Your Excellency

Head of the Judiciary
His Excellency Ayatollah Mahmoud Hashemi Shahrudi
Ministry of Justice
Park-e Shahr
Tehran
Islamic Republic of Iran
Telegrams: Head of Judiciary, Tehran, Iran
Faxes:       + 98 21 879 6671 (number may be unreliable; please mark "care of
Director of International Affairs, Judiciary")
Salutation: Your Excellency

Minister of Intelligence
His E cellenc Hojjatoleslam Ali Younesi
Second Negarestan Street
Pasdaran Avenue
Tehran, Islamic Republic of Iran

COPIES TO:
Minister of Foreign Affairs,
His Excellency Kamal Kharrazi
Ministry of Foreign Affairs, Sheikh Abdolmajid Keshk-e Mesri Av
Tehran, Islamic Republic of Iran
Faxes:      + 98 21 390 1999 (number may be unreliable; please mark "care of
the Human Rights Department, Foreign Ministry)

Parliamentary Committee
Mohsen Mirdamadi Najafabadi
Article 90 Commission (Komisyon-e Asl-e Navad), Majles-e Shura-ye Eslami, Imam
Khomeini Avenue, Tehran, Islamic Republic of Iran
Telegrams: Majles, Tehran, Iran
Telex:       21 42 32 ICAI IR
Faxes:       + 98 21 646 1746 (Can be difficult to reach, please be patient)

PLEASE SEND APPEALS IMMEDIATELY. Check with the International Secretariat,
or your section office, if sending appeals after 8 January 2002.
